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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia Atlanta [=]

Randal Quran Reid,

— Plaintiff(s) -
Vv.

Andrew Bartholomew, in his Individual Capacity as a
Deputy of the Jefferson Parish Sheriffs Office, and
Joseph P. Lopinto Ill, in his Individual and Offical
Capacity as Sheriff of the Jefferson Parish Sheriffs
_ _ __Off —__ =

Defendantts)

Civil Action No.

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) a Se oa wD, ‘ive

Chalmette, Louisiana 70043

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: Shean D. Williams, Esq.

Samuel L. Starks, Esq.

Gary B. Andrews, Esq,

The Cochran Firm - Atlanta

100 Peachtree Street, N.W., Suite 2600
Atlanta, GA 30303

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: a =
Signature of Clerk or Deputy Clerk
